                      IN THE UNITED STATES DISTRICT     0 IN OPEN COURT
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                    FOR THE WESTERN DISTRICT OF TENN~        t( - /j                     r°~-f
                                WESTERN DIVISION    TIME:          o f'"'1      3 :,2:
UNITED STATES OF AMERICA,                   )
                                            )
                                                                     INITIALS:     1-bf ·
                      Plaintiff,            )
vs.                                         )       Cr.   No.c,'l:Q ( -Cfl.-;JOOS7, S JfL
                                            )
                                            )
OLLIE STEPHENSON ,                          )
                                            )
                      Defendant.            )

                                    PLEA AGREEMENT

Come now the parties herein , the defendant, Ollie Stephenson (hereinafter, Mr.
Stephenson) , being represented by retained counsel , Ms . Terita Hewlett, and the United
States being represented by the United States Attorney for the Western District of
Tennessee , and enter into the following Plea Agreement.

1. Mr. Stephenson agrees to:

(a) waive his right to indictment and trial by jury and all rights attached the reto ;

(b) plead guilty to the one-count information filed in this case which charges him with
knowingly making and using a false document containing materially false representations
concerning a matter within the jurisdiction of the U.S. Department of Agriculture
in violation of Title 18, United States Code , Section 1001 (a)(3) ;

(c) waive his right to appeal any aspect of the sentence imposed if the sentence of
imprisonment imposed is within or below the applicable sentencing guideline range as
determined by the Court;

(d) waive any objections based on Fed . R. Evid . 410 to the use of any statements
made by him in the cou rse of the plea colloquy in any criminal prosecution ;

(e) waive , except with respect to claims of ineffective assistance of counsel or
prosecutorial misconduct, his right to challenge the voluntariness of his guilty plea
either on direct appeal , or in any collateral attack including , but not limited to, a motion
brought pursuant to 28 U.S.C. § 2255 ;

(f) pay restitution in the amount of $375 ,158.81 ;

(g) pay the $100 mandatory assessment to be imposed pu rs uant to 18 U.S.C . §30 13
to the United States District Court Clerk following entry of his guilty plea , and to provide
counsel for the United States with evidence of payment prior to senten cing ;
(h) not to engage in any criminal conduct following entry of his guilty plea ; and,

(i) that he is pleading guilty freely and voluntarily , after having consulted with counsel ,
and because he is guilty.

2. The United States agrees :

(a) not to pursue prosecution of Mr. Stephenson in connection with any other potential
violations of federal criminal law arising from false claims made on behalf of Louise's
Learning Tree Day Care in connection with the USDA Child and Adult Care Food Program
between 2016 and 2020 ;

(b) to recommend that Mr. Stephenson receive the maximum applicable reduction for
acceptance of responsibility provided that Mr. Stephenson complies with all of his
obligations under the terms of this plea agreement; and ,

(c) not to seek a sentence of imprisonment in excess of the low end of the applicable
sentencing guideline range as determined by the Court with the understanding that Mr.
Stephenson is not precluded from seeking a lesser sentence.

3. The parties agree and stipulate that in calculating loss under Section 2B1 .1 (b)(1) and
the relevant conduct provisions of the Sentencing Guidelines, the loss amount is more
than $250 ,000 , but does not exceed $550 ,000.

4. Mr. Stephenson acknowledges and understands that:

(a) except with respect to the agreement by the United States not to seek a sentence
of imprisonment in excess of the low end of the applicable sentencing guideline range as
determined by the Court, he has not been promised a specific sentence ;

(b) any estimate of the probable sentencing range he may have received from counsel,
the government, or any other person/s , is a prediction not a promise and is not binding
on the Court and that if the Court imposes a sentence greater than he expects , he will not
be afforded an opportunity to withdraw his plea;

(c) the maximum possible penalty the Court may impose is a term of imprisonment of 5
years , a fine of $250 ,000, 3 years supervised release , and a mandatory assessment of
$100.00 ;

(d) any recommendations made by the United States under this agreement are not
binding on the Court and that if the court rejects any such recommendations he will not
be allowed to withdraw his plea ; and ,

(e) the United States will be relieved of all obligations and restrictions imposed by the
terms of this agreement specifically, the United States will be free to seek the maximum
sentence provided by law if:

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       (1)    his plea of guilty is accepted and he later attempts to withdraw his plea for
              any reason other than the Court's rejection of the plea agreement; or

        (2)   he engages in any new criminal conduct following entry of his guilty plea ;

 5. This Plea Agreement constitutes the entire agreement between the parties.

 JOSEPH C. MURPHY, JR.
 Acting United States Attorney



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 Attorney for Defendant
                                                     Date




~~           ~
Ollie Stephens~
                                                      Date

 Defendant




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